 Case: 19-11350-BAH Doc #: 8 Filed: 10/17/19 Desc: Main Document                   Page 1 of 1




                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW HAMPSHIRE


______________________________
                                )
In re: Anthony P. Matarazzo, Sr )                             Bk. No. 19-11350-BAH
       Joan M. Matarazzo        )                             Chapter 7
                    Debtor      )
______________________________)


                 APPLICATION TO EMPLOY PROFESSIONAL PERSON


Pursuant to 11 U.S.C. §327(a)(d) and §328(a), the Trustee herein, Victor W. Dahar, Esq.,
requests that the Court authorize him to retain Victor W. Dahar, P.A. to act as Attorney for the
Estate and the Trustee on a general retainer with fees and costs to be approved by the Court for
the following matters:

               1.      To investigate preferences;
               2.      To investigate fraudulent transfers;
               3.      To bring any and all law suits, if necessary, to pursue
                       preference actions and fraudulent transfers; and
               4.      Any other legal matters that may be discovered in order
                       to enhance the dividend to unsecured creditors

Said attorney represents no interest adverse to the Estate.

Dated at Manchester, New Hampshire this 17th day of October, 2019.


                                              /s/ Victor W. Dahar
                                              Victor W. Dahar, Trustee
                                              20 Merrimack Street
                                              Manchester, NH 03101
                                              (603) 622-6595
                                              BNH 01175
